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EXHIBIT 5
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Job Information

Job Title: Director of Residential Services
Job Code NA

Job Assigned by HR

Category

The Director of Programs is responsible for the effective management and leadership of

the

residential division of the agency including administrative supervision of the program

directors, oversight of the implementation and delivery of the treatment program, and
supervision and evaluation of the delivery of clinical and health care services. Reports

to...

1.

Meets with and provides administrative, critical case and personnel supervision to
the Program Directors. Is responsible for assessing trends in referrals, staff
recruitment, and client treatment needs in order to insure that the residential
programs function effectively and therapeutically and offer the highest quality of care.
With each program director identifies residents who pose a clear treatment challenge
and works with the program treatment team to develop intervention strategies.
Insures that directors have in place effective systems for communication among and
between shifts. Provides twenty-four hour administrative on-call consultation to the
program administrators.

Regularly meets with directors and program teams to review and discuss the
implementation of the LIFE treatment program. With the director, reviews client
progress as it relates to the attainment of identified social competencies. Based on
the findings of the Therapeutic Hold Committee, reviews and discusses with the
directors clients with high rates of therapeutic holds.

Meets with and provides administrative and critical case supervision to the Clinical
Director to ensure that the full ranges of clinical services are provided at the highest
standards. Is responsible for discussion and review of treatment protocols, revised
practice standards, and implementation of recognized curriculum for the delivery of
individual and group therapy. Insures that the service delivery meets the needs and
expectations of external referral sources.

In consultation with the Clinical Director, determines the mutual management and
attendance at treatment conferences to insure that a senior administrator is present
and for those cases that are complex or high profile that one or both are in
attendance. With the Clinical Director will organize pre-conference meetings as
needed to insure that evaluations, recommendations, and document content is
complete, articulate, and of high standards.

Meets with and provides administrative supervision to the Residential Director to
ensure that the full range of afternoon and evening programming, proper staffing,
and consistent implementation of the LIFE treatment program is carried out to the
highest standards. Insures that the Residential Director manages, posts, and
properly communicates the monthly events calendar for the campus. With the

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Residential Director insures that the Peer Leadership Council is active, the Peer
Mediation Program is offered, and the Teen Center adequately and properly used.
Reviews the completion of client care complaint investigations as conducted by the
Residential Director and acts on them accordingly.

6. Schedules and participates in each program’s monthly Quality Assurance meeting.
Uses the data from these meetings to identify specific trends as well as areas that
require improvement. Insures that the QA summary report prepared by the director
is completed and distributed in a timely manner.

7. Attends the weekly Admission Team meeting. Assesses the appropriateness of
referrals. Assigns appropriate staff to conduct off site evaluations on potential
candidates.

8. Chairs the weekly Program Managers meeting to assess campus needs and trends
and to insure treatment services are delivered consistently and effectively.

9. Meets regularly with the Director of Education to identify major client care concerns
or trends occur during the school day. Works collaboratively with the Student
Service Coordinators and Program Directors to troubleshoot problems and develop
solutions. Consults with the Director of Education to inform on critical cases in which
treatment concerns and the delivery of IEP/educational services must be looked at
jointly in the best interest of the client.

10.Meets regularly with the Director of Professional Recruitment to review applications,
openings, advertisements, and other strategies aimed at recruiting an appropriate
work force.

11.Is fully trained in and understands the regulations which govern residential care at
Perkins including: the Department of Education (DOE), the Department of Early
Education and Care (DEEC). Insures that directors understand the requirements of
these regulations within their programs. Is also fully trained and competent in the
standards of the Joint Commission on Accreditation of Behavioral Health
Organizations and the implementation of those standards in care. As appropriate
works with the Chief Operating Officer to prepare for major licensing studies.

12.Demonstrates a sound understanding of the Perkins personnel policies and
practices. Immediately follows-up on any and all complaints of discrimination,
harassment, poor employee performance, safety issues in the work environment, or
mistreatment of clients. Reports immediately to the Chief Operating Officer any such
complaints.

13.Works closely with the Chief Operating Officer and meets weekly for supervision.
Keeps the Chief Operating Officer well informed regarding agency trends, internal
stresses and strains, admission and discharge trends, personnel issues, client care
concerns and investigations, high profile cases, external agency concerns, and
general treatment issues. Makes recommendations to the Chief Operating Officer
on new programs, program expansion and program renovation.

14.With the Chief Operating Officer annually designs a Professional Development Plan
which includes a description of at least 24 hours of training for the coming year which
enhance leadership, clinical, residential, and management expertise.

15.Develops the professional training topics for the year for the residential and
administrative staff. Works with the Director of Training to schedule and identify
presenters.

16.ls_ responsible for the annual performance review of the residential program

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directors, the residential director, the clinical director, and the staff recruitment
director.

17.As required over the course of the year shall complete related responsibilities as
assigned by the Chief Operating Officer.

e Atleast three years experience working in residential treatment or a similar
environment and five years experience in a supervisory and/or administrative
position.

e This administrative position requires a candidate who:

o posses excellent written and verbal communication skills
communicates effectively as a trainer

communicates effectively in small or large group setting

communicates effectively in difficult or high stress situations

is well organized and has strong time management skills

is able to translate vision into action

creates and fosters an environment for “out of the box” thinking

generates excitement and passion about the work

works effectively with a wide range of administrative staff

sets clear performance expectations for individual and groups

can creatively work within an environment which may have unexpected

shifting priorities as dictated by external circumstances

is able to manage and facilitate change effectively within groups

o will maintain poise and emotional stability in the full range of his/her
professional activities.

o is suitably attired and well groomed.

o maintains excellent attendance and punctuality

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Oo

e Master's degree in related Human Services Field

Physical Demands

The physical demands and work environment described here are representative of

those that must be met by an employee to successfully perform the essential functions

of this job. Reasonable accommodations may be made to enable individuals to perform

the essential functions.

e Able to regularly stand, sit; talk, hear, and use hands and fingers to operate a
computer

e Ability to sit at a computer terminal for an extended period of time

e Light lifting is required

Work Environment

The work environment characteristics described here are representative of those the
employee encounters while performing the essential functions of this job.

e Moderate noise

e Ability to work in open and confined areas

